             Case 3:21-cv-01419-RAM Document 49 Filed 08/23/21 Page 1 of 5



1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   VICKI STASI, et al.,                                  Case No.: 19cv2353 JM (LL)
12                                       Plaintiffs,
                                                           ORDER TO SHOW CAUSE
13   v.
14   INMEDIATA HEALTH GROUP CORP.,
15                                      Defendant.
16
17         Presently before the court is Plaintiffs’ Motion to Stay or Continue Pretrial Dates
18   pending the resolution of Serrano v. Inmediata Corp., No. 3:19cv1811-JAG (D.P.R.)
19   (“Serrano”), an overlapping class action lawsuit filed in the United States District Court
20   for the District of Puerto Rico.
21   I.    BACKGROUND
22         a.     The Instant Action
23         The present action is a putative class action lawsuit arising from an alleged data
24   breach. According to Plaintiffs’ First Amended Complaint (Doc. No. 16), in January
25   2019, Defendant learned it was experiencing a “large data breach” resulting in the
26   “unauthorized acquisition, access, use, or disclosure of unsecured protected health
27   information and personal information of approximately 1,565,338 individuals[.]”
28   Id. at ¶ 2. Plaintiffs allege Defendant failed to take necessary security precautions to
                                                       1
                                                                              19cv2353 JM (LL)
             Case 3:21-cv-01419-RAM Document 49 Filed 08/23/21 Page 2 of 5



1    protect Plaintiffs’ personal and medical information. Id. at ¶ 6. Specifically, Plaintiffs
2    allege the data breach was “[d]ue to a webpage setting that permitted search engines to
3    index webpages Inmediata uses for business operations[.]” Id. at ¶ 7. As such, Plaintiffs
4    allege their personal and medical information was searchable “by anyone with access to
5    an internet search engine[.]” Id. On December 9, 2019, Plaintiffs filed this putative class
6    action lawsuit. (Doc. No. 1).
7          Currently before this court are Plaintiffs’ claims for negligence, breach of contract,
8    violation of sections 56.101(a) and 56.36(b) of the California Confidentiality of Medical
9    Information Act (“CMIA”), violation of the California Consumer Privacy Act (“CCPA”),
10   violation of the California Consumer Records Act (“CCRA”), violation of the Minnesota
11   Health Records Act (“MHRA”), and invasion of privacy under Article I, Section 1 of the
12   California Constitution. (Doc. No. 24 at 34, 36). Plaintiffs are seeking to certify a
13   nationwide class, or in the alternative, California, Florida, and Minnesota sub-classes.
14   (Doc. No. 16 at ¶¶ 199-200).
15         b.    The Serrano Action
16         Serrano is a putative class action lawsuit that arises from the same data breach as
17   the instant action. (Case No. 19cv1811, Doc. No. 1). Serrano was filed on August 28,
18   2019, approximately three months before the instant action. Id. Plaintiff in Serrano is
19   asserting causes of action for breach of express and/or implied contractual promise,
20   breach of the covenant of good faith and fair dealing, and negligence. Id. On May 11,
21   2021, Plaintiff in Serrano filed a Motion for Preliminary Approval of Class Action
22   Settlement. (Case No. 19cv1811, Doc. No. 35). The motion was granted on July 23,
23   2021, in a minute order appointing ILYM Group as the Settlement Administrator. (Case
24   No. 19cv1811, Doc. No. 37). A final approval hearing has not yet been scheduled.
25   II.   ANALYSIS
26         Here, Plaintiffs assert a stay in the instant case is appropriate because Serrano
27   involves “the same nationwide class and the same Defendant” and that “[f]inal approval
28
                                                  2
                                                                             19cv2353 JM (LL)
             Case 3:21-cv-01419-RAM Document 49 Filed 08/23/21 Page 3 of 5



1    of the Serrano settlement will resolve the class claims asserted in the instant action[.]”
2    (Doc. No. 48 at 4).
3          In Serrano, the following settlement class was proposed and preliminarily
4    approved:
5                 All persons in the United States whose Personal Information
6                 was potentially compromised as a result of the Security Incident
                  discovered by Inmediata Corp. and/or Inmediata Health Group
7                 Corp. in January 2019.
8
     (Case No. 19cv1811, Doc. No. 35 at 4).
9
           The “released claims” in Serrano include “any and all claims and causes of action
10
     based on, relating to, concerning, or arising out” of the data breach incident, including the
11
     statutory claims under the CMIA, CCPA, CCRA, and MHRA, and claims for violation of
12
     California’s constitutional right of privacy, at issue here. (Case No. 19cv1811, Doc. No.
13
     35-1 at § 1.30). Per Plaintiffs’ assertions, the nationwide class in Serrano and the release
14
     of claims, therefore, appear co-extensive to Plaintiffs’ class claims in the instant case.
15
           Although the Parties are requesting a stay of this action, given the District Court of
16
     Puerto Rico’s preliminary approval of this nationwide class (Case No. 19cv1811, Doc.
17
     No. 37), the court is inclined to transfer this action to the District of Puerto Rico under
18
     the first-to-file rule rather than staying it pending the final resolution of Serrano. While
19
     neither Party has addressed this issue, “there is authority supporting a district court sua
20
     sponte transferring [an action] under the first-to-file rule.” Hilton v. Apple Inc., No. C-
21
     13-2167, 2013 WL 5487317, at *10 (N.D. Cal. Oct. 1, 2013).
22
           The first-to-file rule is “a generally recognized doctrine of federal comity which
23
     permits a district court to decline jurisdiction over an action when a complaint involving
24
     the same parties and issues has already been filed in another district.” Pacesetter Sys. v.
25
     Medtronic, Inc., 678 F.2d 93, 94-95 (9th Cir. 1982). The rule “allows a district court to
26
     transfer, stay, or dismiss an action when a similar complaint has already been filed in
27
     another federal court[.]” Alltrade, Inc. v. Uniweld Prods., 946 F.2d 622, 623 (9th Cir.
28
                                                   3
                                                                               19cv2353 JM (LL)
             Case 3:21-cv-01419-RAM Document 49 Filed 08/23/21 Page 4 of 5



1    1991). It was developed “to serve[] the purpose of promoting efficiency [] and should
2    not be disregarded lightly.” Church of Scientology v. United States Dep't of the Army,
3    611 F.2d 738, 750 (9th Cir. 1979) (emphasis added).
4          Courts in the Ninth Circuit regularly transfer cases under the “first-to-file” rule in
5    situations like this one. See Peak v. Green Tree Fin. Servicing Corp., No. C 00-0953 SC,
6    2000 WL 973685, at *2 (N.D. Cal. July 7, 2000) (“The proposed class in both cases is
7    identically defined. The alleged offending behavior . . . is the same in both cases.
8    Furthermore, the claims for relief are nearly identical in the two cases . . . . The
9    underlying objectives of the first to file rule will be achieved by its application in this
10   case.”). Indeed, a transfer would appear to be the most appropriate option in this case
11   because “it is inefficient and impractical to have two overlapping class actions proceed
12   individually in two separate courts.” Bodley v. Whirlpool Corp., No. 17-CV-05436-JST,
13   2018 WL 2357640, at *4 (N.D. Cal. May 24, 2018) (quoting Henry v. Home Depot
14   U.S.A., Inc, No. 14-CV-04858-JST, 2016 WL 4538365, at *5 (N.D. Cal. Aug. 31, 2016)).
15   “Such a result would waste judicial resources, require duplicative efforts by both parties,
16   and potentially frustrate class members’ rights.” Henry, 2016 WL 4538365, at *5.
17         The court’s independent review of the Serrano docket reveals the settlement class
18   in that case specifically excludes: “[p]ersons who, as of the date the Court enters an Order
19   granting Preliminary Approval of the settlement, have brought on their own behalf suit
20   filed in their own name (either pro per or through counsel) and have pending any
21   lawsuits, arbitrations or administrative claims against any Defendant[.]” (Case No.
22   19cv1811, Doc. No. 35 at 4).
23         Given this explicit carve-out, Plaintiffs’ individual claims in the instant action do
24   not appear covered by the nationwide settlement if the Serrano settlement is approved as-
25   is. The court is not convinced, however, that this would preclude application of the first-
26   to-file rule. Otherwise, “[p]arties, not courts, would determine when the rule could be
27   applied, and could force resource-draining duplicative class actions to proceed
28   simultaneously. This would unduly burden the courts, and could be used as a vexatious
                                                  4
                                                                             19cv2353 JM (LL)
             Case 3:21-cv-01419-RAM Document 49 Filed 08/23/21 Page 5 of 5



1    litigation tactic.” Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785, 791 (6th Cir.
2    2016). Further, if Plaintiffs wish to litigate the case in this district after resolution of the
3    Serrano class motion, outcome permitting, they may request transfer from the District of
4    Puerto Rico.
5    III.   CONCLUSION
6           For the foregoing reasons, the court finds the first-to-file rule is applicable. Unless
7    the court is convinced otherwise, it will likely adopt the course of transferring this case to
8    the District of Puerto Rico rather than staying this action until the resolution of Serrano.
9    The Parties are, therefore, ORDERED TO SHOW CAUSE in writing, not to exceed
10   five pages each, on or before September 3, 2021, why this case should not be transferred
11   to the United States District Court for the District of Puerto Rico.
12          IT IS SO ORDERED.
13   DATED: August 23, 2021
14                                                  JEFFREY T. MILLER
15                                                  United States District Judge
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                    5
                                                                                19cv2353 JM (LL)
